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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION


UNITED STATES OF AMERICA                )
                                        )
           v.                           )           4:21CR70-2
                                        )
JORDAN BROWN                            )
                                        )
     Defendant                          )


                                ORDER
     At defendant Jordan Brown’s arraignment, the Government

acknowledged that Count Six of the indictment can be punished by a

sentence of death. See also doc. 4 (Penalty Certification). Given that

Brown is charged with a capital crime, he has moved for appointment of

counsel “learned in the law applicable to capital cases,” pursuant to 18

U.S.C. § 3005. Doc. 33. His motion is GRANTED. The court will appoint

learned counsel.

     So 25'(5(', this 20th day of April, 2021




                                        ______________________________
                                        _________
                                         _      ______________________
                                        Christopher L. Ray
                                        United States Magistrate Judge
                                        Southern District of Georgia
